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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NORTH DAKOTA

United States of America,             )
                                      )
                  Plaintiff,          )       ORDER
                                      )
        vs.                           )
                                      )
Nikki Renee Marshall,                 )       Case No. 1:21-cr-070
                                      )
                  Defendant.          )


        On December 23, 2022, Defendant filed a Motion for Furlough from her conditions of

pretrial release. (Doc. No. 270). The Court previously released Defendant on conditions to her

residence in the Northern District of Texas. Defendant requests a furlough from December 29, 2022,

through January 2, 2023, so that she can travel to Detroit, Michigan, to spend time with her family

prior to trial.

        On December 27, 2022, the Court issued an order denying Defendant’s motion, finding that

it was not warranted given that it furloughed her to attend her sister’s wedding in mid-December.

(Doc. No. 273). Upon further reflection and given new developments previously unknown to the

Court, the Court VACATES its earlier order (Doc. No. 273) and GRANTS Defendant’s motion.

(Doc. No. 270). Defendant may travel from Texas to Detroit, Michigan on December 29, 2022, and

return to Texas on January 2, 2023.

        IT IS SO ORDERED.

        Dated this 27th day of December, 2022.

                                                     /s/ Clare R. Hochhalter
                                                     Clare R. Hochhalter, Magistrate Judge
                                                     United States District Court
